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UNITED STATES DISTRICT COURT min com ey
MIDDLE DISTRICT OF FLORIDA ECTIONAL INSTITUTION
OCALA DIVISION vo
JAMES KING, #698823, L_FORMAILING |
Plaintiff,
v. . CASE NO:5: 1&-cy- 4YS0-0¢- 10-P
CENTURION OF FLORIDA, LLC

FLORIDA DEPT. OF HEALTH,
JULIE L. JONES, EVELYN D. GARST,
GLEN CORBIN, A. ACOSTA, MICHELLE JURY TRIAL DEMANDED
SCHOUEST, T. BOWDEN, E. PEREZ,
H. GEORGE, C. WOOD, W. MILLETTE,
J. DWANES, TIFANI S. KNOX, ROBERTS
OPC 4200,
Defendant(s).
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1983 CIVIL RIGHTS COMPLAINT

(I) Plaintiff's present place of confinement: James King, #698823, Union
Correctional Institution, P.O. Box 1000, Raiford, Florida 32083.

(II) Plaintiff has exhausted all available remedies that’s required prior to
pursuing this Civil Rights Action regarding conditions and events concerning his
imprisonment pursuant to 42 U.S.C. §§1997 (E)(A), (see Exhibits “A” through “Z-
35” attached), (and 2-Ab 2-39 ,2-an,2-a9 Albateh wd)

(III) PREVIOUS LAWSUITS
A). Plaintiff has initiated other lawsuits in State Court relating to his imprisonment

or the conditions thereof.

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B). Plaintiff has initiated other lawsuits in Federal Court relating to his
imprisonment or conditions thereof.
(C). (1). Parties to Previous Lawsuits:
Plaintiff: James King, #6988223
Defendant(s): Julie L. Jones, (Fla. Dept. of Corr. Secretary).
(2), Court: Second Judicial Circuit, Leon County, Florida.
(3). Docket Number: L.T. No: 2017-CA-000444
DCA No: 1D17-3539
(4). Name of Judge: Karen A. Gievers
(5). Defendant(s) arbitrarily denying Plaintiff Procedural Due Process and
violating Plaintiffs State created liberty interest rights.
(6). Disposition: Dismissed in the trial court but still pending in the 1* DCA on
Appeal.
(7). Approximate filing date: February 28, 2017.

(8). Approximate disposition date; Still pending.

Parties To Second Previous Lawsuit in State Court:
1). Plaintiff; James King, #698823.
Defendant(s): Florida Department of Corrections

Florida Attorney General Office

INMATE '18/8/21A61D0110137 14 60713
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2). Court: Second Judicial Circuit, Leon County, Florida.
3). Docket Number: 2018-CA-000500.
4). Name of Judge: Karen A. Gievers.
5). Defendant(s) arbitrarily denying Plaintiff Procedural Due Process, violating
Plaintiff's clearly established State created liberty and property Interest Rights and
participating in fraudulent criminal activity.
6). Disposition: Still pending.
7). Approximate filing date: March 5, 2018.

8). Approximate disposition date; Still pending.

Parties to Third Previous Lawsuit in Federal Court.
1). Plaintiff: James King, #698823.

Defendant(s): Charles Jefferson, Richard J. Andrews, Tifani S. Knox, S.
Androlevich, T.D. Andrson, Yvonne Holmes, Julie L. Jones, Kenneth S. Steely, T.
Bowden, W. Millette, M.L. Willforth.

2). Court: Middle District, Jacksonville, Division.

3). Docket Number: Unknown at this time.

4). Name of Judge: Unknown at this time.

5). Defendant(s) arbitrarily denying Plaintiff Procedural Due Process, violating

Plaintiff's clearly established State created liberty interest rights and maliciously

3

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participating in fraudulent criminal activity.
6). Disposition: Still pending.

7). Approximate filing date:

 

8). Approximate disposition date: Still pending.
(A) Plaintiff has not initiated any lawsuits nor appeals from lawsuits in the
Federal Courts that have been dismissed as frivolous, malicious, nor for a failure to

state a claim upon which relief may be granted.

(IV). At all times material to this Civil Right Complaint, Plaintiff, James King,
#698823, was a Florida State Prisoner under the care and control of the
Defendants.

(B). At all times material to this action, Defendant, Centurion of Florida,
LLC was employed by the Florida Department of Corrections Secretary as a
contracted Prison Health Care Service Provider, whose duties which included but
not limited to providing health care service to Florida Department of Corrections
prisoners pursuant the Florida Administrative Code (F.A.C.); Fla. Stat. §381.026;
Florida Patient’s Bill of Rights and Responsibilities; and the United States
Constitution. Defendant mailing address is Centurion of Florida, LLC, Paddock
Park, Professional Center, Building 700, Ste. 701, 3200 S.W., 34" Ave., Ocala,

Florida 34474.

INMATE '18/8/21A61D011013714 60713
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18/8/21

(C). At all times material to this action, Defendant, Florida Department of
Health was employed by the State of Florida as a Public Administration, whose
duties which included but not limited to investigating complaints, and reports
involving health care practitioners and enforces appropriate Florida statutes, whom
have the power to discipline pursuant to Fla. Stat. §381.026 and the F.A.C.
Defendant’s mailing address is Florida Department of Health, 4052 Bald Cypress
Way, Bin C-75, Tallahassee, Florida 32399-3275.

(D). At all times material to this action, Defendant, Julie |., Jones, was
employed by the State of Florida as Secretary for the Florida Department of
Corrections, whose duties included but not limited to ensuring, enforcing, and
executing all duties and responsibilities assigned to the Department of Corrections
and it’s employees pursuant to Section 20.05 and 20.315 Fla. Stat. Defendant’s
mailing address is: Florida Department of Corrections Central Office, 501 South
Calhoun Street, Tallahassee, Florida 32399-2500.

(E). At all times material to this action, Defendant, Evelyn D. Garst was
employed by the Florida Department of Corrections as a ADA Coordinator in
Central Office, whose duties which included but not limited to ensuring that all
prisoners whom are approved ADA inmates are receiving equal effective access to
auxiliary aids, program services and other activities under Title I and II of the

ADA Section 504 of the 1973 Rehabilitation Act pursuant to F.A.C. Chapter 33-

INMATE '18/8/21A61D011013714 60713
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18/8/21

210.201. Defendant’s Mailing address is: Florida Department of Corrections, (Fla.
Dept. of Corr.) Central Office, 501 South Calhoun Street, Tallahassee, Florida
32399-2500.

(F). At all times material to this action, Defendant, Glen Corbin was
employed by the Florida Dept. of Corr. as a Assistant ADA Coordinator in Central
Office, whose duties which included but not limited to ensuring that all prisoners
whom are approved ADA inmates are receiving Equal Effective Access to
auxiliary aids, program services and other activities under Title I and Title II of the
ADA Section 504 of the 1973 Rehabilitation Act pursuant to F.A.C. Chapter 33-
210.201. Defendant’s mailing address is: Florida Dept. of Corrections, Central
Office, 501 South Calhoun Street, Tallahassee, Florida 32399-2500.

(G). At all times material to this action, Defendant, A. Acosta, M.D. was
employed by Centurion of Florida LLC, whose duties which included but not
limited to making final clinical judgment on medical issues concerning prisoners
assigned to Wakulla Annex / C.J. as Chief Health Officer pursuant to F.A.C.
Chapter 33, Chapter 458 and / or 459 Fla. Stat., and Fla. Stat. §381.026, and the
United States Constitution (U.S.C.), Defendant’s mailing address is: Wakulla
Correctional Institution Annex, 110 Melaleuca Drive, Crawfordville, Florida
32327.

(H). At all times material to this action, Defendant, Michelle Schouest was

INMATE '18/8/21A6100110137 14 60713
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18/8/21

employed by the Fla. Dept. of Corr. as a Central Office Reviewing Authority for
the Bureau of Inmate Grievance Appeal whose duties which included but not
limited to reviewing inmate’s grievance appeals to the Office of the Secretary to
provide inmate’s with administrative settlement and / or corrective actions of a
grievance of medical nature per F.A.C. Chapter 33 and Chapter 458 and 459 Fla.
Stat. and Fla. Stat. §381.026 and the U.S.C. Defendant’s mailing address is; Fla.
Dept. of Corr. Central Office, 501 South Calhoun Street, Tallahassee, Florida
32399-2500.

(I). at all times material to this action Defendant, T. Bowden, was employed
by the Fla. Dept. of Corr. as a Central Office Reviewing Authority for the Bureau
of Inmate Grievance Appeal whose duties which included but not limited to
reviewing Inmates grievance Appeals to the Office of the Secretary to provide
inmates with administrative settlement and / or corrective actins of a grievance of
medical nature per F.A.C. Chapter 33; Chapter 458 and 459 Fla. Stat; Fla. Stat.
§381.026 and the U.S.C. Defendant’s mailing address is Fla. Dept. of Corr.
Central Office, 501 South Calhoun Street, Tallahassee, Florida 32399-2500.

(J). At all times material to this action Defendant, E. Perez, M.D. was
employed by Centurion of Florida, LLC, whose duties which included but not
limited to making final Clinical Judgment on Medical Issues concerning prisoners

assigned to Union Correctional Institution (Union C.I.) as Chief Health Officer

INMATE 18/8/21A61D011013714 60713
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18/8/21

pursuant to F.A.C. Chapter 33; Chapter 458 and 459 Fla. Stat.; Fla. Stat. §381.026
and the U.S.C. Defendant’s mailing address is Union C. I., P.O. Box 1000,
Raiford, Florida 32083.

(K). At all times material to this action Defendant, H. George was employed
by Centurion of Florida, LLC whose duties which included but not limited to
making final Clinical Judgment on Medical Issues concerning prisoners assigned
to Columbia Correctional Institution (Columbia C.I.) as Chief Health Officer
pursuant to F.A.C, Chapter 33; Chapter 458 and 459 Fla. Stat.; Fla. Stat. §381.026
and the U.S.C. Defendant’s mailing address is: Columbia C. I. , 216 S. E.
Corrections Way, Lake City, Florida 32025.

(L). At all times material to this action, Defendant, W. Millette was
employed by the Fla. Dept. of Corrections as a Central Office Reviewing Authority
for the Bureau of Inmate Grievance Appeal, whose duties which included but not
limited to reviewing inmates grievance appeals to the Office of the Secretary to
provide inmates with administrative settlement and / or corrective actions of a
grievance of a medical nature pursuant to F.A.C. Chapter 33; Chapter 458 and 459
Fla. Stat.; Fla. Stat. §381.026; and the U.S.C. Defendant’s mailing address is:

Fla. Dept. of Corr. Central Office, 501 South Calhoun Street, Tallahassee, Florida
32399-2500.

(M). At all times material to this action, Defendant, Tifani S. Knox, was

INMATE '18/8/21A61D011013714 60713
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employed by the Fla. Dept. of Corr. as Assistant Warden over Programs at Union
C.I. whose duties which included but not limited to Co-ordinating / Processing
inmates ADA Accommodation request pursuant to F.A.C. Chapter 33-210.201.
Defendant’s mailing address is: Union C. I., P.O. Box 1000, Raiford, Florida
32083.

(N). At all times material to this action Defendant, C. Wood was employed
by Centurion of Florida, LLC. As a ADA Intake Officer whose duties which
included but not limited to Approving or Disapproving Inmates ADA
Accommodation request pursuant to F.A.C. Chapter 33-210-201(3)(d)(1)(2).
Defendant’s mailing address is: Union C. I., P. O. Box 1000, Raiford, Florida
32083.

(0). At all times material to this action Defendant, J. Qwanes was employed
by Centurion and / or Fla. Dept. of Corrections as a Health Service personnel
whose duties which included but not limited to giving F.D.O.C. prisoners HIV
Health Care pursuant to F.A.C. and pursuant to Fla. Stat. §381.026. Defendant’s
mailing address is: Union Corr. Institution, P.O. Box 1000, Raiford, Florida
32083.

(P). At all times material to this action Defendant, Roberts OPC 4200 was
employed by Centurion of Florida, LLC as a Optometrist Consultant, whose duties

which included but not limited to providing Medical Eye Care for prisoners at

INMATE '18/8/21A61D0110137 14 60713
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Columbia C.I. pursuant to F.A.C. Chapter 33; Chapter 458 and 459 Fla. Stat.; Fla.
Stat. §381.026 and the U.S.C. Defendant’s mailing address is: Columbia C. I.,

216 S.E. Correctional Way, Lake City, Florida 32025.

(V). STATEMENT OF CLAIM

This is a Civil Rights Complaint filed by Plaintiff, James King, #698823,
pro se, who’s a Florida State Prisoner seeking compensatory and / or punitive
damages relief under 42 U.S.C. §1983. Plaintiff claims that Defendant’s refuse to
abide by their own rules, policies, directives, Law of the State of Florida, the
United States Constitution and maliciously participating in fraudulent and
embezzling criminal activities by exploiting their own policies and directives to
their own ends. Specifically embezzling Plaintiff (other prisoners as well) out of a
$5.00 Medical Co-payment on a week or monthly basis for ongoing chronic
medical conditions. Thus, denying Plaintiff Medical Care once prescribed, denying
Plaintiff proper Medical Care, denying Plaintiff Procedural Due Process, denying
Plaintiff ADA Services, denying Plaintiff Equal Protection of the Laws of Florida,
and subjecting Plaintiff to cruel and unusual punishment. Therefore, violating
Plaintiff's 8" and 14" Amendment Rights to the United States Constitution. Thus,

Plaintiff sues each Defendant in their official and / or individual capacities for their

10

INMATE '18/8/21A61D011013714 60713
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malicious acts and reckless indifference toward Plaintiff's constitutional rights.

VI. STATEMENT OF FACTS

1). Plaintiff alleges that the Florida Department of Corrections (FDOC) has a
policy of outsourcing it’s healthcare responsibilities to private contractors to save
money on inmates healthcare cost due to lawmakers not fully funding the FDOC’s
budget hole, which is running approximately $80 Million dollars in the red,
pursuant to this Policy the FDOC entered into a contract with Centurion of Florida,
LLC in 2016 knowing that Centurion had a policy and / or custom of directing or
incentivizing it’s healthcare employee’s to exploit the Florida Administrative Code
(F.A.C.) and denying non-emergency healthcare in order to contain cost and
maximize it’s profitability, which is causing an unacceptable decline in the quality
of medical care provided to prisoners or in Plaintiff's case denial of treatment once
prescribed due to cost concerning a non-emergency medical disability issue.
Plaintiff also alleges that Defendant, Julie L. Jones knows of and condone or
encourages the custom of the FDOC’s healthcare employee’s and the employee’s
of the contractor to deny non-emergency necessary medical care for prisoners
serious medical needs in order to reduce cost and / or increase profits in deliberate
indifference to the serious medical needs of prisoners by creating such policies as

F.A.C. Chapter 33-403.006(3)(d) that’s enshrined in an ongoing process for

11

INMATE ‘18/8/21A61D011013714 60713
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prisoners to seek proper. medical care for the same non-emergency medical
complaints by repeated initiations of the sick-call process before he is referred to
the clinician, in essence embezzling prisoners out of repeated $5.00 medical co-
payments, if not clearly denying prisoners non-emergency health care.

Defendant, Centurion of Florida has a policy and / or custom of not
providing prescribed medical treatment that’s non-emergency until it’s approved
due to increase cost. Plaintiff asserts that these policies and customs of the FDOC
and Centurion are the driving force behind their deliberate indifference to the
optometrist prescribed treatment for the ADA medically necessary contact lenses
on three (3) separate occasions, and denial of necessary medical treatment once
prescribed with a reckless disregard toward Plaintiff's Constitutional rights. Thus,
causing Plaintiff severe pain, (headaches, stomach pain from throwing up)
escalating visual acuity complications, months without being able to see objects
two feet in front of Plaintiff clearly without the ADA medically necessary contact
lenses, living with the threat of future injury because Plaintiff couldn’t see warning
signs, steps etc., months without contact cleaning solutions with the threat of eye
infection and the threat of blindness due to the continued use of old contact lenses
because defendant’s denial or delay due to cutting budget cost.

Defendant’s Centurion of Florida and Julie L. Jones above acts were done

with evil intent and a reckless indifference towards Plaintiff's medical needs once

12

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18/8/21

prescribed mandating treatment by denying said treatment to cut cost clearly
violated Plaintiff's well established Constitutional Rights secured to the Plaintiff
under the 8" and 14" Amendments, (see Exhibit’s A through Z-35 attached).

2). Defendant, Florida Department of Health (FDOH) is a Sister Florida
Administrative Agency to the Florida Department of Corrections whom entered
into a contract with the Florida Department of Corrections and / or with Centurion
of Florida to provide medical services for HIV infected prisoners in the department
with the knowledge of Defendant’s Julie L. Jones and Centurion of Florida policies
and customs of directing or incentivizing it’s healthcare employee’s of denying
prisoners non-emergency healthcare and embezzling prisoners out of $5.00
medical co-payments in order to contain cost and maximize profitability. Further,
the Florida Department of Health who’s responsibilities were to investigate
complaints and reports involving health care practitioners and enforce appropriate
Florida statutes to provide health care to prisoners actually condoned or
encouraged the unconstitutional acts by themselves exploiting the F.A.C. by
partially treating the HIV prisoner thus forcing the prisoner to initiate more
repeative sick-calls for proper treatment for the Chronic HIV disability and not
taking corrective action against Defendant’s when Plaintiff brought said
constitutional violations, and fraudulent criminal activity concerning medical

employees falsifying Plaintiff and other prisoners medical records to conceal their

13

INMATE '18/8/21A61D0110137 14 60713
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18/8/21

denial of non-emergency medical treatment due to budget cost and to conceal their
collaborated actions against Plaintiff's complaints concerning the violations,
denying Plaintiff proper medical treatment, treatment once prescribed, and equal
protection of the Florida Laws in violation of the F.A.C. and Fla. Stat. §831.026
which is secured to Plaintiff under the 8" and 14" Amendment of the U.S.C., (see
Exhibits A through Z-35 attached).
CLAIMS GIVING RISE TO THE DENIAL OF
PLAINTIFF’S PRESCRIBED ADA __MEDICAL
NECESSARY _ CONTACT LENSES; DENIAL OF
OPTOMETRIST _ PRESCRIBED _ FOLLOW-UP

TREATMENT AND DENIAL OF ADA SERVICES.

1). In 1996 Plaintiff was evaluated by the department’s Chief Optometrist
Specialist (consultant) at the Fla. Dept. of Corrt. Main Medical Center (R.M.C.)
and was diagnosed with numerous visual acuity complications, Plaintiff was also
determined to be legally blind without the ADA medically necessary contact lenses
and was declared a ADA inmate. In 2009 Plaintiff was again approved to be a
ADA inmate in the need of an additional auxiliary aid (ADA Key Lock) due to
Plaintiff's visual acuity complications, (see Exhibit A attached). For approximately

twenty (20) years in the Department Plaintiff have been evaluated and diagnosed

14

INMATE '18/8/21A61D011013714 60713
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by approximately forty (40) different Optometrist Specialist for the department that
prescribed Plaintiff's ADA medical necessary contact lenses and two (2) months
follow-up evaluations until 2016 when Centurion took over health services for the
FDOC, (see Exhibits A through Z-35).

In about June, 2016 the attending Optometrist prescribed Plaintiff the ADA
medically necessary contact lenses and a follow-up evaluation in two (2) months.
Defendant’s never provided Plaintiff the ADA medically necessary contact lenses
nor the medically provided follow-up evaluations in two (2) months.

For approximately a year plaintiff was denied the prescribed ADA medically
necessary contact lenses and follow-up evaluations. The whole year Plaintiff was
evaluated at numerous sick-calls for the already prescribed chronic disability and
Plaintiff filed numerous complaints concerning the denial of ADA treatment once
prescribed to no avail.

On or about June 22, 2017 Plaintiff was evaluated by the Optometrist whom
again prescribed Plaintiff's the ADA medically necessary contact lenses with a two
(2) month follow-up evaluation due to the long period without proper visual eye
care (over a year). @A once again Defendant’s denied Plaintiff the prescribed
medical treatment. Once again Plaintiff started filing medical complaints, and
signing up for sick-calls because he couldn’t see and was in physical danger

without the ADA medically prescribed necessary contact lenses.

15

INMATE '18/8/21A61D0110137 14 60713
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18/8/21

On or about July 12, 2017 Defendant A. Costa maliciously collaborated with
her employer in an attempt to deny Plaintiff future ADA medically necessary
contact lenses by influencing the Optometrist at Plaintiff's next schedule
evaluation to issue Plaintiff cheaper regular eye glasses as proper treatment due to
Centurion ah for medically necessary contact lenses due to budget cost.

On or about September 7, 2017 Plaintiff was evaluated by Defendant Roberts
OPC 4200 whom acted on Defendant’s Centurion and A. Acosta influence an
denied Plaintiff the ADA Medically necessary contact lenses, contrary to twenty-
two (22) years of diagnosis and treatment for Plaintiff's disability. Defendant
Roberts even acknowledge herself that Plaintiff met the requirements for ADA
medically necessary contact lenses but still refuse to prescribe proper treatment for
Plaintiff's disability and maliciously prescribed Plaintiff a pair of bifocals instead,
due to budget cost, denying Plaintiff proper medical treatment and violating
Plaintiff's 8" and 14" Amendments Constitutional rights.

On or about October 27, 2017 Plaintiff received the prescribed bifocals that
Defendant, Robert’s prescribed. Plaintiff attempted to wear the bifocals because he
couldn’t see. When Plaintiff placed the bifocals on these are the immediate
symptoms that Plaintiff experienced:

A). Very bleary vision with a rainbow colored halo around each object

Plaintiff was seeing.

16

INMATE '18/8/21A61D0110137 14 60713
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B). Plaintiff became very nauseated and vomited.

C). Plaintiff's body temperature even started to rise and Plaintiff balance
was even effected for approximately twenty to thirty minutes after Plaintiff
removed the bifocals.

On or about March 16, 2017, April 2, 2012, August 11, 2017, October 29,
2017 Plaintiff filed complaints concerning the denial of proper medical care and
denial of medical treatment once prescribed but Defendant’s Michelle Schouest, T.
Bowden, H. George, A. Acosta, and Centurion predictably already not known for
originality continued their maliciously denial of proper medical treatment once
prescribed by responding to the Plaintiff’s appeals issuing the boilerplate response
preprogrammed into the memory of a typewriter, ignoring the Constitutional issues
raised by the Plaintiff to enhance profitability further for non-emergency medical
issues, denying Plaintiff any form of administrative settlement or relief violating
Plaintiffs 8" and 14 Amendment Constitutional rights. (See Exhibits B, C, D, E,
and F attached), and in direct violation of F.A.C. Chapter 33-103.001(1).

2). On or about November 8, 2017, November 9, 2017, November 13, 2017,
November 14, 2017, November 16, 2017, November Plaintiff filed numerous
complaints concerning the denial of proper treatment and Defendant’s Michelle
Schouest, T. Bowden, and H. George either continued to deny Plaintiff proper

prescribed medical care, (Plaintiff still hadn’t received the prescribed two (2)

17

INMATE '18/8/21A61D0110137 14 60713
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18/8/21

month follow-up evaluation that Defendant Roberts had ordered when she
prescribed the bifocals), and / or gave Plaintiff fraudulent information that said
ADA medically necessary contact lenses were ordered, denying Plaintiff Medical
treatment once prescribed and violating Plaintiff's 8" and 14" Amendment
Constitutional rights. (See, Exhibits G, H, I, J, and K attached), and in direct
violation of F.A.C. Chapter 33-103.001(1).

3). On or about November 27, 2017 Plaintiff filed a Notice of Intent to sue to
Defendant, Julie L. Jones, seeking administrative settlement and proper medical
treatment and ADA services for Plaintiff's disability to no avail, denying Plaintiff
proper medical treatment, medical treatment once prescribed, and ADA services of
the department and violating Plaintiff's 8" and 14" Amendment Constitutional
Rights. (See Exhibit L attached), and in direct violation of F.A.C. Chapter 33-
103.001)(1).

4). On or about November 29, 2017, December 11, 2017; October 25, 2017;
December 18, 2017; December 21, 2017; April 10, 2018; April 16, 2018; April 19,
2018; Plaintiff filed more complaints concerning the denial of proper medical
treatment, medical treatment once prescribed and ADA services of the Department.
Defendant’s Michelle Schouest, T. Bowden, Evelyn D. Garst, H. George, E. Perez,
C. Wood and W. Millette maliciously denied Plaintiff's appeals for administrative

settlement or any form of relief, denying Plaintiff proper medical treatment,

18

INMATE '18/8/21A61D0110137 14 60713
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18/8/21

medical treatment once prescribed and ADA service for the department, and
violating Plaintiff's 8" and 14% Amendment Constitutional rights, (see Exhibits M,
N, O, P, Q, R, S, T, and U attached), and in direct violation of F.A.C. Chapter 33-
103.001(1).

5). On or about May 6, 2018; December 13, 2017; May 31, 2018; June 6,
2018; June 19, 2018; June 26, 2018; January 7, 2018; Plaintiff filed more
complaints concerning the denial of proper medical treatment, medical treatment
once prescribed, denial of ADA services and Defendant’s maliciously issuing
Plaintiff contact lenses, on January 4, 2018 that were the wrong prescription and
the wrong brand causing Plaintiff further visual acuity complications as well as
constant headaches. Defendant’s Glen Corbin, E. Perez, Tifani S. Knox, and
Evelyn D. Garst continued their pattern of collaboration and denial of
administrative settlement or relief, denying Plaintiff proper medical treatment,
medical treatment once prescribed and the Department’s ADA services and
violating Plaintiff's 8" and 14 Amendment Constitutional Rights. (See Exhibit’s
V, X, Y, Z, Z-1, Z-2, Z-3, and Z-4 attached), and in direct violation of F.A.C.
Chapter 33-103.001 (1).

6). On or about January 9, 2018 Plaintiff submitted a ADA request seeking
to clarify his ADA services pursuant to F.A.C. Chapter 33-210.201.

Astonishingly, Defendant Tifani S. Knox maliciously denied Plaintiff's ADA

19

INMATE '18/8/21A61D0110137 14 60713
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services request without a medical evaluation nor is Defendant T. Knox a medical
personnel contrary to F.A.C. Chapter 33-210.201(3), denying Plaintiff proper
medical treatment and ADA services by a none-medical personnel and violating
Plaintiffs 8" and 14 Amendment Constitutional rights. (See Exhibits Z-5, Z-6, Z-
7, attached), and in direct violation of F.A.C. Chapter 33-103.001 (1).

7). On or about December 23, 2017; December 30, 2017; January 17, 2018;
July 2, 2018; July 29, 2018; Plaintiff submitted sick-call request, complaints, etc.
seeking the already approved ADA services but Defendant E. Perez maliciously
denied Plaintiff even this last bit of ADA services, denying Plaintiff medical
treatments once prescribed and ADA services of the Department contrary to the
F.A.C. Chapter 33-210.201 and violating Plaintiff's 8" and 14" Amendment
Constitutional Rights, (see Exhibits Z-8, Z-9, Z-10, Z-11 and Z-12 attached), and

in direct violation of F.A.C. Chapter 33-103.001 (1).

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CLAIMS GIVING RISE TO THE DENIAL OF
FULL _H1.V. |. MEDICAL __ TREATMENT,
DEFENDANT’S COLLABORATED FRAUDULENT
CRIMINAL _ACTIVITY, AND DEFENDANT’S
ARBITRARILY EMBEZZLING PLAINTIFF _AND
OTHER PRISONERS REPEATEDLY OUT OF A
$5.00 MEDICAL CO-PAYMENT IN ORDER TO

RECEIVE PROPER HEALTH CARE,

(1) On or about November 22, 2017 Defendants maliciously falsified
Plaintiff's medical records by claiming that Plaintiff was evaluated at sick-call on
November 22, 2017 when Plaintiff's security records and the Departments own
audio and video camera’s clearly reflected that Plaintiff was never taken out of his
confinement cell at all on November 22, 2017. Defendant’s fraudulent criminal
activity was in direct violation of F.A.C. Chapter 33-208.002 (12) and Fla. Stat.
§839.13, and Fla. Stat. §831.01. Defendant’s malicious actions of denying Plaintiff
proper medical treatment on November 22, 2017 when Plaintiff had an untreated
infection for approximately a month that was escalating and then maliciously
falsifying Plaintiff's medical records claiming Plaintiff was evaluated on

November 22, 2017 when in actuality Plaintiff was not evaluated clearly denied

21

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Plaintiff proper medical treatment for a life threatening medical issue and violating
Plaintiffs 8" and 14" Amendment Constitutional Rights. Defendant’s H. George,
Michelle Schouest, T. Bowden and W. Millette denying Plaintiffs appeals
concerning this matter was in direct violation of F.A.C. Chapter 33-103.001(1),
violating Plaintiff's 8" and 14" Amendment Constitutional Rights (see Exhibit Z-
13, Z-20 and Z-29 attached).

(2). On or about December 23, 2017 and December 30, 2017 Plaintiff signed
up for sick-calls per F.A.C. Chapter 33-403.006. Defendant’s maliciously refused
to evaluate the Plaintiff for his medical complaints and threw away Plaintiff's sick-
call request.

On or about January 29, 2018, February 16, 2018, April 23, 2018
Defendant’s E. Perez, Tifani S. Knox (T. Knox), Michelle Schouest and T.
Bowden arbitrarily denied Plaintiff's Appeals concerning this fraudulent criminal
activity even when the Department’s own Audio and Video camera’s was
validating Plaintiffs claims of submitting sick-call request on December 23, 2017
and December 30, 2017 to the U-Dorm Unit Nurse, not to mention Plaintiff's
personal copy of the submitted sick-call request. Defendant’s actions of showing
deliberate indifference toward Plaintiff's medical needs and constitutional rights
violated F.A.C. Chapter 33-103.001(1) and F.A.C. Chapter 33-208.002(12) and

Fla. Stat. §839.13, violating Plaintiff's 8" and 14" Amendment Constitutional

22

INMATE '18/8/21A61D0110137 14 60713
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Rights, (see Exhibits Z-18, Z-19, and Z-20 attached).

(3). For the months of December, January, February, March, April, May,
June, 2018 Plaintiff was evaluated by, the Florida Department of Health, Doctor (J.
Dwanes) for treating Plaintiff's Chronic H.I.V. disability. There is a component in
all the H.I.V. medications that causes the Plaintiff an allergy (skin irritation).
Plaintiff have been receiving treatment for his allergy to the H.I.V. medications for
approximately twenty (20) years, (Orthopedic skin creams, Bentyl etc.) Starting
December, #2017 the on-site Fla. Dept. of Health Doctor collaborated with
Centurion Doctor to deny Plaintiff full H.I.V. care and embezzle Plaintiff out of
repeatedly $5.00 Medical co-payments with the following actions. The Fla. Dept.
of Health Doctor (DOH) would prescribe Plaintiff the medically necessary H.I.V.
medications but only recommend the H.I.V. treatment for the allergy to the H.I.V.
medications, (Plaintiff never receives the recommended treatment).

Therefore, Plaintiff must initiate above enshrine sick-call procedure ($5.00
Medical co-payment) to receive the proper H.I.V. allergy treatment which is only
recommended once the Centurion Medical Doctor (Defendant E. Perez) makes an
evaluation he prescribe the H.I.V. allergy treatment for only thirty (30) days to
further exploit Plaintiff out of more $5.00 Medical co-payments in order to
continue to receive proper Medical treatment for the H.LV. allergy treatment by

forcing Plaintiff to initiate the enshrined F.A.C. Chapter 33-403.006(3)(d) every

23

INMATE '18/8/24 A61D011013714 61161
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18/8/21

thirty days.

Defendant’s malicious actions clearly denies Plaintiff proper medical care,
embezzles Plaintiff out of $5.00 Medical co-payments in order to receive proper
treatment, (other H.I.V. prisoners are being treated the same way which creates
Defendant’s with a substantial profitable budget cut) and showing deliberate
indifference towards Plaintiff's Medical needs and constitutional rights in direct
violation of F.A.C. Chapter 33-403.006 and Fla. Stat. §381.026. Defendant’s E.
Perez, Tifani S. Knox, Michelle Schouest, T. Bowden, Fla. Dept. of Health C.
Wood, actions and the denial of plaintiff appeals were in direct violation of F.A.C.
Chapter 33-103.001(1) and violated Plaintiffs 8" and 14" Amendment
Constitutional Rights. (See Exhibits Z-14, Z-15, Z-16, Z-17, Z-21, Z-22, Z-23, Z-
24, Z-25, Z-26, Z-27, Z-28, Z-29, Z-30, Z-31, Z-32, and Z-33 attached).

(4). On or about July 5, 2018 and July 18, 2018 Plaintiff filed Notices of
Intent to Sue to Defendant’s Centurion of Florida, LLC and the Florida Department
of Health due to all the above said claims of Plaintiff seeking corrective actions
and / or some form of relief to no avail. Defendants actions of deliberate
indifference towards Plaintiff's Medical needs and Constitutional Rights clearly
violated Fla. Stat. §381.026, F.A.C. , and Plaintiffs 8 and 14" Amendment
Constitutional Rights, (see Exhibits Z-34 and Z-35 attached).

(5). On or about May 21, 2018, May 30, 2018,m June 6, 2018, July 4, 2018

24

INMATE '18/8/21A61D011013714 60713
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18/8/21

and July 18, 2018 Plaintiff filed numerous complaints concerning his left knee
giving out on Plaintiff suddenly due to two major operations (Plaintiff has
numerous metal in left knee and leg) which is causing Plaintiff further injuries
from falling. Plaintiff was evaluated by Defendant E. Perez on or about June 6,
2018 and July 11, 2018 concerning the knee injury and Defendant E. Perez who’s
not an Orthopedic Doctor maliciously refused to issue Plaintiff any form of support
for the left knee to keep Plaintiff from falling due to the knee suddenly giving out
on Plaintiff nor would Defendant E. Perez refer Plaintiff to the Orthopedic Doctor
to receive proper medical treatment for the injured left knee, nor replace Plaintiff's
knee brace that security personnel had lost, in direct violation of the F.A.C.,
denying Plaintiff's proper medical treatment for a non-emergency medical issue
and subjecting Plaintiff to future injuries in violation of Plaintiffs 8” and 14"
Amendment Constitutional rights, (see Exhibits Z-31, Z-32, Z-36, Z-37, Z-38 and
Z-39 attached).
RELIEF SOUGHT
Wherefore Plaintiff respectfully request that this Honorable Court grant the
following relief:
A). Issue a Declaratory Judgment stating that:
1). Defendants, Evelyn D. Garst, Glen Corbin, A. Acosta, E. Perez,

H. George, C. Wood, J. Owanes, Tifani S. Knox, and Roberts OPC 4200

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INMATE '18/8/21A61D011013714 60713
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48/8/21

maliciously denial of proper medical treatment, medical treatment once prescribed,
denial of the Departments ADA services and collaborating in criminal fraudulent
activity clearly violated the Plaintiff's rights under the 8" and 14" Amendments to
the United States Constitution.

2). Defendant’s Michelle Schouest, T. Bowden, W. Millette, Tifani S.
Knox, Evelyn D. Garst, and Glenn Corbin acts and omissions of condoning their
subordinates total disregard toward their own F.A.C.; Florida Laws; United States
Constitution; Deliberate Indifference towards Plaintiff's Medical needs; and their
arbitrarily and discriminatorily denial of Plaintiff's procedural due process rights
while in their supervisory and / or reviewing authoritative positions clearly violated
Plaintiff's rights under the 8" and 14" Amendments to the United States
Constitution.

3). Defendants, Centurion of Florida, Florida Department of Health,
and Julie L. Jones actins of showing deliberate indifference toward Plaintiff's
Medical needs, acts and omissions of condoning their subordinates total disregard
toward their own F.A.C.; Florida Laws; United States Constitution and failing to
provide adequate medical care for the Plaintiff due to Defendant’s customs and / or
policies to deny prisoners non-emergency health care in order to contain cost and
maximize their profitability clearly violated and continue to violate the Plaintiff's

rights under the 8" and 14" Amendment to the United States Constitution.

26

INMATE '18/8/21A61D0110137 14 60713
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(B). Issue an injunction ordering Defendants, Centurion of Florida and Julie
L. Jones to immediately have Plaintiff evaluated by an Optometrist and prescribed
the proper ADA medically necessary contact lenses for Plaintiff’s visual acuity
disability and for any other necessary visual acuity treatment that may be necessary
to correct or assist Plaintiff with his ADA disability, and any other follow-up
treatment that may be necessary in the future.
(C). Award Compensatory and / or Punitive damages in the following
amounts:
1). That Defendants, E. Perez, H. George, C. Wood, J. wanes, Tifani
S. Knox and Roberts OPC 4200 in their official and / or individual capacities to
pay the Plaintiff compensatory and / or punitive damages in the amount of fifty
thousand dollars ($50,000.00) each for their malicious denial of proper medical
treatment, medical treatment once prescribed, embezzling and criminal fraudulent
collaborating activities and their arbitrarily and discriminating denial of Plaintiff's
procedural due process rights and the deliberate indifference towards Plaintiff's
medical needs. Defendant’s acts did cause Plaintiff psychological harm, personal
humiliation, mental anguish, physical injuries resulting from their actins. The
above mentioned act of the Defendant’s were done with evil intent, maliciousness
and reckless indifference toward the Plaintiff | in order to contain cost and

maximize their profitability.

27

INMATE '18/8/21A61D0110137 14 60713
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2). That Defendants, Evelyn D. Garst, Glen Corbin, A. Acosta,
Michelle Schouest, T. Bowden, W. Millette, Florida Department of Health, and
Julie L. Jones in their official and / or individual capacities to pay Plaintiff Twenty-
five thousand dollars ($25,000.00) each for their acts and omissions of condoning
their subordinates total disregard toward their own F.A.C.; Florida Laws; U.S.C.;
deliberate indifference toward Plaintiff's medical needs and their arbitrarily and
discriminatorily denial of Plaintiff's procedural due process rights while in their
supervisory and / or reviewing authoritative positions. Defendant’s acts did cause
Plaintiff psychological harm, personal humiliation, mental anguish, physical
injuries resulting from their denial of due process in connection with the Plaintiff's
administrative appeals seeking administrative settlement.

3). That Defendant, Centurion of Florida in their official and / or
individual capacities to pay Plaintiff Seventy-five Thousand Dollars ($75,000.00)
for their acts and omissions of directing or incentivizing it’s healthcare employees
to exploit the F.A.C.; denying Plaintiff proper medical treatment; denying Plaintiff
treatment once prescribed; embezzling Plaintiff repeatedly out of $5.00 Medical
co-payments for on-going and / or chronic illnesses; and condoning its employees
criminal fraudulent activities sssieieis collaborately in order to contain cost and
maximize its profitability concerning non-emergency medical issues and / or

medical disabilities; showing deliberate indifference toward Plaintiff's medical

28

INMATE 18/8/21A61D0110137 14 60713
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needs, denying Plaintiff procedural due process, Defendant’s acts did cause
Plaintiff psychological harm, personal humiliation, mental anguish, physical
injuries, in connection with the reckless indifference to Plaintiff's complaints and
specifically Plaintiff's Notice of Intent to Sue informing them of their employees —
malicious conduct over a period of two (2) years without proper medical treatment
and total denial of medical treatment once prescribed. Defendant’s acts were done
with evil intent, maliciousness, and reckless indifference toward the Plaintiff with
the desire to injure in order to contain cost and maximize its profitability
concerning non-emergency medical issue and / or medical disabilities.

4). Grant such other relief as it may appear that the Plaintiff is
entitled.

Respectfully submitted,

Qs
mes King, #698823, Plaintiff
Union Correctional Institution
P.O. Box 1000
Raiford, Florida 32083

UNNOTARIZED OATH OF AFFIRMATION
Under penalty of perjury, Plaintiff, James King, #698823, DECLARE that I
29

INMATE 18/8/21A61D0110137 14 60713
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18/8/21

have read the foregoing 1983 Civil Rights Complaint and that the facts stated

therein are true and correct and accordance with Fla. Stat.§92.525 (2008).

1 Zz
mes Kingy#698823, Pl aintiff

CERTIFICATE OF SERVICE
I, James King, #698823, CERTIFY that a true and correct copy of the

foregoing has been furnished by first class U.S. Mail via the prison institutional
mail system and in accordance with mailbox rule ‘as redefined in Thompson v.
State, 761 So. 2d 324 (Fla. 2000) to the Clerk of Court, U.S. District Court, 207

LH
N.W. Second Street, Room 337, Ocala, Florida 34475-6666 on this $é-day of

 

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es King, #698823, Plaintiff
Union Correctional Institution
P.O. Box 1000
Raiford, Florida 32083

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